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                        IN THE UNITED STATES DISTRICT COUI
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION
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                                                                               riFRK U S-DISTRICT
                                                                                                     i
                                                                                                  COURT
                                                                                             VIRGINIA .




AMAZON.COM,INC. and AMAZON
DATA SERVICES,INC.,

              Plaintiffs,

       V.                                                    CASE NO. I'-
WDC HOLDINGS LLC dba NORTHSTAR
COMMERCIAL PARTNERS; BRIAN
WATSON; STERLING NOP FF, LLC;                    FILED UNDER SEAL PURSUANT TO
MANASSAS NCP FF, LLC; NSIPI                      LOCAL RULE 5
ADMINISTRATIVE MANAGER;NOVA
WPC LLC; WHITE PEAKS CAPITAL LLC;
VILLANOVA TRUST; JOHN DOES 1-20,

              Defendants.



                BRIEF IN SUPPORT OF PLAINTIFFS' MOTION FOR A
            PROTECTIVE ORDER TEMPORARILY SEALING DOCUMENTS

       The Amazon Plaintiffs hereby submit the following memorandum in support of their

Motion for a Protective Order Temporarily Sealing Documents.

                                     BACKGROUND

       Plaintiffs have filed a Verified Complaint and Application for Ex Parte Temporary

Restraining Order ("TRO") and Order to Show Cause Why a Preliminary Injunction Should Not

Be Granted ("TRO Application") against the named defendants in this action' (collectively,

"Defendants") who engaged in an ongoing fraud and kickback scheme for the purpose ofobtaining

illicit personal financial gains from certain Amazon real property transactions in Virginia.




'WDC Holdings LLC dba Northstar Commercial Partners, Brian Watson, Sterling NCP FF, LLC,
Manassas NCP FF, LLC, NSIPI Administrative Manager, Nova WPC LLC, White Peaks Capital
LLC, Villanova Trust.

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                                                  OCCUMENTS
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